                                                                         EXHIBIT A




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                                                                                                      Transmittal Number: 22108169
 Notice of Service of Process                                                                            Date Processed: 10/05/2020

Primary Contact:            Marie Angowski
                            Bed Bath & Beyond
                            650 Liberty Ave
                            Union, NJ 07083-8107

Electronic copy provided to:                   Michael Wilek
                                               Angela Leary
                                               Kenneth Bradley

Entity:                                        Bed Bath & Beyond Inc.
                                               Entity ID Number 0290995
Entity Served:                                 Bed Bath & Beyond Inc.
Title of Action:                               Suzanne Zfrani vs. Bed Bath & Beyond Inc.
Document(s) Type:                              Summons/Complaint
Nature of Action:                              Personal Injury
Court/Agency:                                  Cook County Circuit Court, IL
Case/Reference No:                             2020L009794
Jurisdiction Served:                           Illinois
Date Served on CSC:                            10/02/2020
Answer or Appearance Due:                      30 Days
Originally Served On:                          csc
How Served:                                    Personal Service
Sender Information:                            Maria Merman
                                               312-600-0000

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 I sop@cscglobal.com
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a             Summons - Alias Summons                                                        (08/01/18) CCG 0601 A
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~                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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              SUZANNE ZFR ANI
                                              (Narae all parties)
                                                                                   2020L009794
                                                                    Case No
                                      V.


              BED BATH & BEYOND INC.

                                         ZI SUMMONS LJ ALIAS SUMMONS
                                    Bed Bath & Beyond Inc, c/o Prentice Hall Corporation'
             To each Defendant:
                                    801 Adlai Stevenson Drive, Springfield IL 62703
             YOU ARE SUMMONEDand requited to file an answer to the complaint in this case, a copy of
             which is heretoattached, or otherwise file your appearance and pay the required feewithin thirty
             (30) days after service of this Summons, not counting theday of service. To file your.answer or
             appearance you need acccss to the internet. Please sisit +swwwcookcroiun;clerkakeca±rt.org to initiate
             this process. Kiosks with internet access are available at all Clerk's Office locations. Please refer to
             the last page of this document for location information.
             If you fail to do so, ajudgment by default may be entered againstyou forthe relief
             requested in the complaint.
             To the Officer:
             This Summons must be returned by the officer or other person to whom it was given for service,
             with endorsement of service.and fees, if any, immediately afterservice. If service cannot be made;
             this Summons shall be .returned so endorsed. 'This Summons nay not be served later than thirty (30)
             clays after its date.




                           Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
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        Primary Email: merman@aakinlaw.cc:n




                      Dorothy Brown, Clerk of the Circuit Court of Cook County, Illinois
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           CLERK OF THE CIRCUIT COURT OF COOK COUNTY OFFICE LOCATIONS
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           Maywood, IL 60153                                 Richard J Daley Center
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           District 5 - Bridgeview                           Chicago, IL, 60602
            10220 S 76h Ave                                  Hours: 8:30 am - 4:30 pr
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           16501 S Kedzie Pkwy                               50 WW:sbington, Rm 12202
           Markliamn, IL 60428                               Chicago, IL 60602
           Domestic Violence Court                           Hours: 8:30 am - 4:30-pm
           555 W Harrison                                    Probate Division
           Chicago, IL 60607                                 Richard,] Daley Center
           Juvenile Center Building                          50 W Washington, Rm 1202
           2245 W Ogden Avc, Rm13                            Chic±go, IL 60602
           Chicago, IL 60602                                 Hours: 8130-am - 4:30 pi
           Criminal CourtBuilding                     s;     Law Division
           2650 S California Ave,Rn 526                      Richard ] Daley Center
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           50 W W::hington, Rm 802
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           Houts: 8:30 am - 1:30 pm

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     BED BATH & BEYOND INC.,                       )      Ad Damnum: In Excess of-$50.000.00
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~    a Foreign Corporation,                        )
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a                                        COMPLAINT AT LAW

              NOW COMES Plaintiff, SUZANNE ZFRANI, by and through her attorneys, ANKIN

     LAW OFFICES LLC, and complaining of Defendant, BED BATH & BEYOND INC., a foreign

     corporation (hereinafter referred to as "BED BATH & BEYOND"), states as follows:

      1.      On and prior to October 8, 2018, Defendant, BED BATH & BEYOND, was a foreign

     corporation, present and conducting business in the State of Illinois, and in good standing with the

     Illinois Secretary of State.

     2.       On and prior to October 8, 2018, Plaintiff, SUZANNE ZFRANI, was a resident of the

     Village ofSkokie, County ofCook, and State of Illinois.

     3.       On and prior to October 8, 2018, Defendant, BED BATH & BEYOND, by and throughits

     agents, servants and/or employees, owned, maintained, and/or. controlled certain commercial retail

     premises located at or near 3232 Lake Avenue in the.City of Wilmette, County of Cook, and State

     of Illinois.

     4.      That on or about October 8, 2018, Plaintiff, SUZANNE ZFRANI, as a patron of BED

     BATH & BEYOND, was lawfully upon said premises.




                                                Page 1 of4
        5.      Atall times relevant, Defendant, BED BATH & BEYOND, had a duty, by and through its

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        agents, servants, and/or employees, to keep its premises reasonably safe for those lawfully on its
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o       property, to includePlaintiff herein, SUZANNE ZFRANI.
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=       6.      Notwithstanding the aforementioned duty, Defendant, BED BATH & BEYOND, by and
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        through its agents, servants and/or employees, allowed plastic, clutter, garbage, and other debris
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~       section, for an unreasonable length of time, in an area frequented by those lawfully upon said
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u::     premises, thereby creating a dangerous condition that caused Plaintiff, SUZANNE ZFRANI, to

        fall and sustain injuries.

        7.      Notwithstanding the aforementioned duty, Defendant, BED BATH & BEYOND, by and

        through its agents, servants and/or employees, allowed clutter, shopping carts, displays and

        unattended items to accumulate and block customer thoroughfares and shopping aisles for an

        unreasonable length of time, and thus created a dangerous conditionupon its premises that caused

        Plaintiff, SUZANNE ZFRANI, to fall and sustain injuries.

        8.     At the aforesaid time and place, Defendant, BED BATH & BEYOND, violated the duty of

        care owed to Plaintiff through one or more of the following negligent acts and/or omissions:

               (a)      Failed to make a reasonable inspection of its premises when Defendant knew, or in
                        the exercise of ordinary care, should have known, that said inspection was
                        necessary to prevent injury to Plaintiff, SUZANNE ZFRANI, and those similarly
                        situated;

               (b)      Failed to warn Plaintiff of the clutter, plastic, garbage, and debris existing upon the
                        floors of its premises, when Defendant knew, or in the exercise of ordinary care
                        should have known, that said warning was necessary to prevent injury to.Plaintiff;

               (c)      Failed to provide reasonably safe and adequate safeguards to prevent Plaintiff and
                        others similarly situated from injury while lawfully upon Defendant's premises;

               (d)      Failed to maintain and/or.manage.its premises in a reasonably safe condition for
                        those lawfullyupon the premises;
                 (e)    Failed to maintain and/or manage the floors of its shopping aisles, the customer
                        checkout area, the returns sections, and customer walkway passagesin a reasonably
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s               ()      Allowed its shopping aisles and customer walkways to- exist in an unsafe manner
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                        for those lawfully upon the premises, including Plaintiff herein, SUZANNE
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a                       ZFRANI;

                (i)    Allowed said plastic, debris, or other materials to exist upon the floors of its
                       premises in such a dangerous and unapparent manner when Defendant knew, or in
                       the exercise of ordinary care should have known, that such plastic, debris, or other
                       materials on the floor could create a slipping/falling hazard upon the premises;

                (j)    Allowed its customer shopping aisles and/or pedestrian thoroughfares to exist in
                       an unsafe manner for those lawfully upon the premises, including Plaintiff
                       herein, SUZANNE ZFRANI;

                (k)    Allowed clutter, shopping carts, displays and unattended items to accumulate and
                       block customer thoroughfares and shopping aisles, thus creating an unsafe
                       environment and a falling hazard; and

                (I)    Was otherwise careless in the maintenance, ownership, and/or care of its
                       premises.

        9.     As a direct and proximate result of one or more of the foregoing acts or omissions of

        Defendant, BED BATH & BEYOND, Plaintiff, SUZANNE ZFRANI, sustained serious and

        permanent injuries when she slipped and fell on Defendant's premises; was required to seek

        extensive medical consultation and treatment for said injuries; has expended, and will in the future

        expend, great sums of money to be healed and cured of her maladies; suffered, and will in the

        future continue to suffer, great pain, anguish, physical and mental suffering; and was deprived of

        earnings to which she might have otherwise been entitled.


                                                   Page 3 of 4
               WHEREFORE Plaintiff, SUZANNE ZFRANI, prays for judgment against Defendant,

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       BED BATH & BEYOND INC., a Foreign Corporation, in such an amount in excess of FIFTY
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=      her injuries, losses and damages as hereinabove alleged, for costs of this suit, andfor any further
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       relief this Honorable Court deems just and equitable.
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                                                           Respectfully Submitted,
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                                                           Maria Merman, Attorney for
                                                           the Plaintiff, Suzanne Zfrani




       Ankin LawOffices LLC
       Attorneys for Plaintiff
        10 N. Dearborn Suite 500
       Chicago Illinois 60602
       312+600·0000
       Attorney #35193
       mmerman@A nkinLaw.com




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     BED BA TH & BEYOND lNC.,                    )       Ad Damnum: In Excess of $50.000.00
     a Foreign Corporation,                      )
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                     Defendant.                  )

                                       RULE 222b) AFFIDAVIT

            I, MARIA MERMAN, being first duly sworn on oath, depose and statethat the amount

     of damages in the above-captioned cause of action exceeds $50,000.00 for the Plaintiff.



                                                 By:
                                                         TV\a.ris WY\rre
                                                         Attorney for Plaintiff




     Ankin Law Offices LLC
     Attorneys for Plaintiff
     10 N. Dearborn Suite 500
     Chicago Illinois 60602
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     Attorney #35193
     mmerman@AnkinLaw.com
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               NOW COMES Plaintiff, SUZANNE ZFRANI, by and through her attorneys, ANKIN

       LAW OFFICES LLC, and complaining of Defendant, BED BATH & BEYOND INC., a foreign

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       ofIllinois.

       4.      That on or about October 8, 2018, Plaintiff, SUZANNE ZFRANI, as a patron of' BED

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                                                  Page 1 of 4
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       unreasonable length of time, and thus created a dangerous condition upon its premises that caused

       Plaintiff, SUZANNE ZFRANI, to fall and sustain injuries.

       8.     At the aforesaid time and place, Defendant, BED BATH & .BEYOND, violated the duty of

       care owed to Plaintiff through one or more of the following negligent acts and/or omissions:

               (a)     Failed to make a reasonableinspection of its premises when Defendant knew, or in
                       the exercise of ordinary care, should have known, that said inspection was
                       necessary to prevent injury to Plaintiff, SUZANNE ZFRANI, and those similarly
                       situated;

              (b)     Failed to warn Plaintiff of the clutter, plastic, garbage, and debris existing uponthe
                      floors of its premises, when Defendant knew, or in the exercise of ordinary care
                      should have known, that said warning was necessaryto prevent injury to.Plaintiff;

              (c)      Failed to provide reasonably safe and adequate safeguards to- prevent Plaintiff and
                       others similarly situated from injury while lawfully upon Defendant's premises;

              (d)     Failed to maintain and/or manage its premises ina reasonably safe condition for
                      those lawfully upon the premises;

                                                  Page 2.of 4
               (e)    Failed to maintain and/or manage the floors of its shopping aisles, the customer
                      checkout area, the returns sections, and customer walkway passagesin a reasonably
                      safe condition for those lawfully on the Defendant's premises;

              (f)     Allowed plastic, clutter, and debris to exist upon the shopping aisles, the customer
                      checkout area, the returns sections, and customer walkway passages of its premises
                      for an unreasonably long period of time;
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              (i)    Allowed said plastic, debris, or other materials to exist upon the floors of its
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                     materials on the floor could create a slipping/falling hazard upon the premises;

              (j)    Allowed its customer shopping aisles and/or pedestrian thoroughfares to exist in
                     an unsafe manner for those lawfully upon the premises, including Plaintiff
                     herein, SUZANNEZFRANI;

              (k)    Allowed clutter, shopping carts, displays and unattended items to accumulate and
                     block customer thoroughfares and shopping aisles, thus creating an unsafe
                     environment and a falling hazard; and

              (l)    Was otherwise careless in the maintenance, ownership, and/or care of its
                     premises.

      9.     As a direct and proximate result of one or more of the foregoing acts or omissions of

      Defendant, BED BATH & BEYOND, Plaintiff, SUZANNE ZFRANI, sustained serious and

      permanent injuries when she slipped and fell on Defendant's premises; was required to seek

      extensive medical consultation and treatment forsaid injuries; has expended, and will in the future

      expend, great sums of money to be healed and cured of her maladies; suffered, and will in the

      future continue to suffer, great pain, anguish, physical and mental suffering; and was deprived of

      earnings to which she might have otherwise been entitled.


                                                 Page 3 of 4
               WHEREFORE Plaintiff, SUZANNE ZFRANI, prays for judgment against Defendant,

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c      BED BATH & BEYOND INC., a Foreign Corporation, in such an amount in excess of FIFTY
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co     THOUSAND DOLLARS ($50,000.00) as will fairly and adequately compensate the Plaintiff for
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                                                            Maria Merman, Attorney for
                                                            the Plaintiff, Suzanne Zfrani




       Ankin Law Offices LLC
       Attorneys for Plaintiff
       10 N. Dearborn Suite 500
       Chicago Illinois 60602
       312·600·0000
       Attorney #35193
       mmerman@AnkinLaw.com




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u::                                     RULE 222(b) AFFIDAVIT

             I, MARIA MERMAN, being first duly sworn on oath, depose and state that the amount

      of damages in the above-captioned cause of action exceeds $50,000.00 for the Plaintiff.



                                                  By:
                                                          TV\a.rto. Ylrrres
                                                          Attorney for Plaintiff




      A
      nkin Law Offices LLC
      Attorneysfor Plaintiff
      10 N. Dearborn Suite 500
      Chicago Illinois 60602
      312·600-0000
      Attorney #35193
      mmerman@ AnkinL.aw.com
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                                                                  IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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FILED DATE: 10/29/2020 3:18 PM 2020L009794




                                             SUZANNE ZFRANI,                                  )
                                                                                              )
                                                     Plaintiff,                               )
                                                                                              )
                                             vs.                                              )        Case No.: 2020L009794
                                                                                              )
                                             BED BATH & BEYOND INC.,                          )
                                                                                              )
                                                     Defendant.                               )

                                                                              NOTICE OF ROUTINE MOTION

                                             To:     Attorney Maria Merman
                                                     Ankin Law Office LLC
                                                     10 N. Dearborn Street, Suite 500
                                                     Chicago, IL 60602
                                                     mmerman@ankinlaw.com

                                                     PLEASE TAKE NOTICE that on November 2, 2020 at 8:45 a.m., the undersigned shall
                                             electronically submit Defendant, BED BATH & BEYOND INC.’s, Routine Motion to Extend
                                             Time to File Answer to the Honorable Moira Susan Johnson, via e-mail address:
                                             law.calfcc@cookcountyil.gov

                                                                                              SMITHAMUNDSEN LLC

                                                                                              By:      /s/ Mark E. Middendorff
                                                                                                       Attorney for Defendant

                                                                                        PROOF OF SERVICE
                                                      The undersigned, a non-attorney, certifies that she e-mailed a copy of this Notice to the attorneys
                                             listed above at 5:00 p.m. on this 29th day of October, 2020.

                                             [x]     Under penalties as provide by law pursuant to 735 ILCS 5/1-109, I certify that the
                                                     statements set forth herein are true and correct.

                                                                                              /s/ Sandra J. Stevens

                                             Attorney Mark E. Middendorff (06297195)
                                             SMITHAMUNDSEN LLC
                                             308 W. State Street, Suite 320
                                             Rockford, IL 61101
                                             815-904-8806
                                             mmiddendorff@salawus.com
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                                                                                                                                                       DOROTHY BROWN
                                                                                                                                                       CIRCUIT CLERK
                                                                                                                                                       COOK COUNTY, IL
                                             3039593-RER                                                                                   Firm: 49946
                                                                                                                                                       2020L009794
                                                                    IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                                        10960213
                                                                          COUNTY DEPARTMENT, LAW DIVISION
FILED DATE: 10/29/2020 3:18 PM 2020L009794




                                             SUZANNE ZFRANI,                                    )
                                                                                                )
                                                     Plaintiff,                                 )
                                                                                                )
                                             vs.                                                )        Case No.: 2020L009794
                                                                                                )
                                             BED BATH & BEYOND INC.,                            )
                                                                                                )
                                                     Defendant.                                 )

                                                                        DEFENDANT’S ROUTINE MOTION
                                                             FOR EXTENSION OF TIME TO FILE RESPONSIVE PLEADINGS

                                                     NOW COMES the Defendant, BED BATH & BEYOND INC., through its attorneys,

                                             SmithAmundsen LLC, and for its Routine Motion for Extension of Time to File Responsive Pleadings states

                                             as follows:

                                                     1.       The Defendant was served with summons on October 2, 2020.

                                                     2.       Attorneys for the Defendant filed their appearance on October 22, 2020.

                                                     3.       The Defendant requires additional time to investigate the allegations, confer with its

                                             attorneys, and formulate the appropriate responsive pleadings.

                                                     4.       Attorneys for the parties have conferred, and there is no objection to an extension.

                                                     WHEREFORE, the Defendant, BED BATH & BEYOND INC. moves for this court to grant an

                                             extension of time for Defendant to file responsive pleadings, to be due on November 30, 2020.



                                                                                                        SMITHAMUNDSEN LLC
                                                                                                By:     /s/ Mark E. Middendorff
                                                                                                        Attorney for Defendant, Bed Bath & Beyond Inc.

                                             Attorney Mark E. Middendorff (06297195)
                                             Attorney Ruth E. Robinson (06207546)
                                             SMITHAMUNDSEN LLC
                                             308 W. State Street, Suite 320
                                             Rockford, IL 61101
                                             (815) 904-8806; (815) 904-8807-fax
                                             mmiddendorff@salawus.com
                                             rrobinson@salawus.com
